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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

 JOY ELGUEZABAL                                                   CIVIL ACTION

 VERSUS                                                           CASE NO. 12-1346

 CHURCH & DWIGHT, CO., INC. et al                                 SECTION: “G” (3)



                                                ORDER

           The Court having been advised that all of the parties to this action have firmly agreed upon

a compromise,1

           IT IS ORDERED that this action be and is hereby dismissed without costs and without

prejudice to the right, upon good cause shown within sixty days, to reopen the action if settlement

is not consummated. The Court retains jurisdiction to enforce the compromise agreed upon by the

parties.

           Counsel are reminded that, if witnesses have been subpoenaed, every witness must be

notified by counsel not to appear.

           NEW ORLEANS, LOUISIANA, this ________ day of December, 2013.



                                                 _________________________________________
                                                 NANNETTE JOLIVETTE BROWN
                                                 UNITED STATES DISTRICT JUDGE




           1
            See Rec. Doc. 199.
